Case 3:18-Cr-00223-RDl\/| Document 1 Filed 06/19/18 Page 1 of 1
AO 91 (Revv 08/09) Criminal Complaint

UNITED STATES DISTRICT CoURT wL/\FESZ§Q
for the JU/,V 1 AHHE

 

Middle District of Penns lvania ¢ 1
y J c 575
United States of America ) Pe/'
v. ) _ ._.
sHAWN CHRlSTY ) ease No. 5 ‘/§’ M \) 4
)
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)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

 

On or about the date(s) of June 5 and 12, 2018 in the county of Schuylkil| in the
Midd|e District of Pennsy|vania , the defendant(s) violated:
Code Section Ojj’ense Description
18 U.S.C. Section 875(c) The defendant knowingly and willfully did transmit in interstate commerce
18 U.S.C. Section 871 communications, i.e., postings on Facebook, and the communications

contained threats to harm, injure, and kill a police chief, other law
enforcement officers, a district attorney and President Donald J. Trump.

This criminal complaint is based on these facts:

See attached affidavit of probable cause

El Continued on the attached sheet.

  

 

mplainant 's signature

Alan R. .,lonesl FBl SQecial Agent
Printed name and title

Sworn to before me and signed in my presence.

Date: ‘T(¢HL 12 ZO/X

 

City and state: Wilkes-Barre, PA Joseph F. Saporito, Jr, U.S. Maqistrate Judge

Printed name and title

